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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMEN
) 8 4 Q 2
Plaintiff, ) 5 e 1 i? 4 A G 9
)
V. ) CASE NO.
) Title 18, Sections 2252(a)(2) and
PHILIP M. POPA, JR., ) 2252A(a)(5)(B), United States
) Code
Defendant. Hae
edn ) JUDGE PEARSON
COUNT 1

(Receipt of Visual Depictions of Real Minors Engaged In Sexually Explicit Conduct, in violation
of 18 U.S.C. § 2252(a)(2))

The Grand Jury charges:

1. From on or about May 30, 2017 through on or about July 7, 2018, in the Northern
District of Ohio, Eastern Division, and elsewhere, Defendant PHILIP M. POPA, JR. did
knowingly receive, using any means and facility of interstate and foreign commerce, numerous
computer files, which files contained visual depictions of real minors engaged in sexually
explicit conduct, and which files had been shipped and transported in and affecting interstate and
foreign commerce, as defined in Title 18, Section 2256(2), United States Code, in violation of
Title 18, Section 2252(a)(2), United States Code.

COUNT 2
(Possession of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B))

The Grand Jury further charges:
2. On or about July 17, 2018, in the Northern District of Ohio, Eastern Division,
Defendant PHILIP M. POPA, JR. did knowingly possess an HP laptop computer that contained

child pornography as defined in Title 18, Section 2256(8), United States Code, which child
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pornography had been shipped and transported in interstate and foreign commerce by any means,
including by computer, and which was produced using materials which had been shipped and
transported in interstate and foreign commerce by any means, including by computer, and at least
one image involved in the offense involved a prepubescent minor or a minor who had not

attained 12 years of age, in violation of Title 18, Section 2252A(a)(5)(B), United States Code.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
